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                               U.S. Customs and Border Protection

CBP Directive No. 3340-043                             Date: September 3, 2008
                                                       ORIGINATING OFFICE: OFO: APP
                                                       SUPERSEDES:
                                                       REVIEW DATE: September 2011


SUBJECT:       THE EXERCISE OF DISCRETIONARY AUTHORITY

1. Purpose. To provide guidance and direction to promote the fair, objective and consistent
application of U.S. Customs and Border Protection (CBP) discretionary authority in the
enforcement of immigration laws nationwide.

2. Policy.

2.1     It is the policy of CBP to protect the United States of America from threats posed by
terrorist organizations and to prevent terrorists as well as suspected terrorists, terrorist funding,
weapons, and instruments, including Weapons of Mass Effects (WME), and their precursors
from entering the United States.

2.2      It is the policy of CBP, consistent with the Immigration and Nationality Act (INA) to
verify the identity, citizenship and admissibility of persons seeking entry into the United States.
Where there is a belief, based on an evaluation of available information, that an alien may have
ties to or presents a threat related to terrorism, has criminality rendering him or her inadmissible,
or is likely to add to the illegal population of the United States, the alien will be denied
admission where there is a legal basis to do so.

2.3     It is the policy of CBP that, through the use of all authorities and sanctions provided by
law and procedure, enforcement actions will be vigorously pursued against any individual where
there exists any reasonable suspicion of association with terrorism, criminality, illegal migration,
smuggling or any other activity contrary to national interests or in violation of U.S. statutes.

2.4     It is the policy of CBP to consider the exercise of discretionary measures in favor of
aliens who are inadmissible due to a minor or technical violation of the INA. This includes the
use of the waiver and parole processes to allow such aliens into the United States, where
appropriate and permissible by law. In keeping with the CBP strategy of risk management, CBP
will focus resources on those cases that pose the greatest risk.

2.5     It is the policy of CBP that in individual cases involving technical inadmissibility, minor
violations, and apparent bona fide travel, where refusal of admission or withdrawal of
application for admission would involve detention or undue hardship, it is appropriate to
expansively consider the exercise of discretionary authority. This principle must be applied on a
case-by-case basis and may not be interpreted to provide relief from the visa requirement in any
systemic manner to any particular class of aliens.

2.6     It is the policy of CBP that supervisors and managers will responsibly assess every case
involving a prospective adverse action. This will ensure that CBP’s legal and discretionary
authority is being exercised judiciously and in a manner consistent with the facts of the case.

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3. Authority/References. Immigration and Nationality Act (INA); Title 8 United States Code
(USC); Title 19 USC; Title 8 Code of Federal Regulations (CFR); Inspector’s Field Manual
(IFM) Chapters 16.1 (Parole); 17.1 (Deferred Inspection); 17.2 (Withdrawal of Application for
Admission); and 17.5 (Waivers).

4. Definitions.

4.1     “Admission,” means, with respect to an alien, the lawful entry of the alien into the United
States after inspection and authorization by a CBP officer.

4.2    “Brief overstay,” generally means an overstay of approved nonimmigrant status,
unintentional in nature or beyond the control of the alien, covering a period of                     or
less.

4.3     “Hardship,” must be determined based on the factors presented. Applicants must be
encouraged to describe and document all applicable factors, since there is no guarantee that any
particular reason will result in a finding that an adverse action would cause extreme or undue
hardship.

4.4      “Minor or technical violation,” means a single infraction of a CBP statute that does not
rise to a level of such a serious nature that would preclude the offering of a form of discretion.

4.5    “Significant public benefit,” means that the inadmissibility of an alien is outweighed by
the public interest in allowing the alien to enter the United States.

4.6     “Unforeseen emergency,” as used in 8 CFR § 212.1(g) generally means:

4.6.1 An alien arriving for a medical emergency (an injury or illness that requires immediate
medical attention to prevent life-threatening or disabling conditions);

4.6.2 An emergency or rescue worker arriving in response to a community disaster or
catastrophe in the United States;

4.6.3   An alien accompanying or following to join a person arriving for a medical emergency;

4.6.4 An alien arriving to visit a spouse, child, parent, or sibling who within the past 5 days has
unexpectedly become critically ill or who within the past 5 days has died; or,

4.6.5 An alien whose passport or visa was lost or stolen within 48 hours of departing the last
port of embarkation for the United States.

5. Responsibilities.

5.1    The Assistant Commissioner, Office of Field Operations, is responsible for policy
oversight, which includes the formulation and implementation of guidelines and procedures.



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5.2     The Executive Director, Admissibility and Passenger Programs (APP), is responsible for
the formulation and implementation of the guidelines set forth by the Assistant Commissioner.
In addition, the Executive Director, APP, will be responsible for conducting national reviews to
ensure compliance with implemented guidelines outlined in this directive.

5.3    Directors, Field Operations (DFOs) are responsible for the overall management and
implementation of this program. DFOs will also be responsible for the overall monitoring of the
exercise of discretionary authority within their areas of responsibility.

5.4     Port Directors (PDs) are responsible for performing periodic reviews of cases to ensure
that the exercise of discretionary authority is being applied in accordance with this directive. PDs
are also responsible to ensure that any exercise of discretionary authority is fully warranted.

5.5     Field managers and supervisors are responsible for ensuring that the Discretionary
Checklist is utilized in every case involving a prospective adverse action. They are further
responsible for assessing every case involving a prospective adverse action to ensure that any
exercise of discretionary authority is done judiciously and in a manner consistent with the facts
of the case.

5.6     Supervisors are responsible for ensuring that the Discretionary Checklist is completed
during case processing. Supervisors are further responsible for ensuring that CBP officers under
their supervision are familiar with the policies and procedures established by this directive.

5.7     CBP officers are responsible for knowing, understanding and adhering to the contents of
this directive. CBP officers are further responsible for accurately presenting all facts and
circumstances resulting from an inspection that may involve a prospective adverse action to the
appropriate level of management, through the chain of command.

5.8     CBP officers are responsible for immediately forwarding information to the appropriate
level of management, through the chain of command, regarding time-critical situations, including
medical emergencies.

6. Port of Entry Environments.

6.1     Land Border and Preclearance Ports of Entry

6.1.1 In these environments, an inadmissible alien can normally be returned to a contiguous
country immediately or without the need to arrange for additional transportation or to be taken
into federal custody. Ports may need to consider additional factors where refused aliens must be
transported to a designated return location.

6.1.2 In these environments, it is generally reasonable to refuse admission, or accept a
withdrawal of application, as it would not create an undue hardship on an alien. If necessary, an
alien can access a United States Embassy or Consulate in an attempt to correct any documentary
deficiencies, or can secure additional evidence to support a subsequent application for admission.



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8.1.3 The Form I-193 application fee may be waived for aliens granted a waiver for the first
time under INA § 211(b) or INA § 212(d)(4). Such determination shall be made by port
management at the GS-13 level and above, or a port director at the GS-12 level. Previous
beneficiaries of a fee-exempt waiver may be considered for subsequent fee-exempt waivers on a
case-by-case basis.

8.1.4 Ports of entry encountering returning lawful permanent residents lacking evidence of
alien registration, and thus inadmissible under INA § 212(a)(7)(A)(i), may offer a visa waiver
pursuant to INA § 211(b), if otherwise admissible.

8.1.4.1 If a lawful permanent resident claims his or her evidence of registration has been lost or
stolen, the port may accept Form I-90, with fee.

8.1.5 Ports of entry encountering nonimmigrant aliens seeking admission to the United States
determined to be inadmissible under INA § 212(a)(7)(B), may offer a waiver pursuant to INA §
212(d)(4).

8.1.5.1 Waivers approved pursuant to INA § 212(d)(4) should generally be for unforeseen
emergency situations. Such waivers may also be approved for aliens who fall outside the scope
of an unforeseen emergency on a case-by-case basis where it is determined that humanitarian
factors support the decision. The following scenarios are a few examples of situations in which a
waiver may be appropriate.

8.1.5.2 An alien is not in possession of a proper visa due to governmental error (e.g., the
consulate issued an L-2 instead of an L-1 nonimmigrant visa).

8.1.5.3 An alien is not in possession of a proper visa, but has the requisite documentation for an
employment based nonimmigrant visa (e.g., presents an I-797 confirming that a petition has been
approved; however, the nonimmigrant visa presented has expired). Note: CBP cannot waive the
underlying documentary requirement for another agency (such as a Department of Labor (DOL)
labor certification or petition).

8.1.5.4 An alien with a brief overstay that rendered his or her visa invalid pursuant to INA §
222(g).

8.1.5.5 An alien issued a valid and appropriate visa, but who is unable to present the visa at the
time of his or her application for admission. This often occurs when the visa is contained in a
previously issued passport that is not in the alien’s possession.

8.1.5.6 Representatives of foreign information media without appropriate visas.


8.2     Parole.

8.2.1 Generally, cases requiring parole authorization will present more complex circumstances
than those in which a waiver would be considered. Parole authority is normally exercised when



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8.7.1 When a form of discretion under consideration requires the payment of an associated fee
(such as waiver applications and certain paroles), CBP should determine if the action taken is
solely for the benefit of the alien. If the discretionary action is taken for reasons of significant
public benefit, CBP should not charge a fee.

8.7.2 Situations resulting from an action at the port of entry in which it would not be
appropriate to charge a fee include the following:

8.7.2.1 Parole for criminal prosecution;

8.7.2.2 Parole for incarceration after conviction for a crime;

8.7.2.3 Parole into the custody of another agency;

8.7.2.4 Parole for INA § 240 proceedings, if detention is not appropriate or feasible;

8.7.2.5 Parole of a stowaway for a medical emergency or legitimate law enforcement objective;

8.7.2.6 Parole of a witness in a judicial, administrative or legislative proceeding being conducted,
        or to be conducted in the United States;

8.7.2.7 Parole for deferred inspection; and,

8.7.2.8 Parole for deportation from another country through the United States.

8.7.3 Nothing in this directive is intended to diminish the authority of port management to
waive fees under other circumstances, where appropriate, in accordance with 8 CFR § 103.7(c).

9. No Private Right Created. The procedures set forth in this Directive are for CBP internal
use only and create no private rights, benefits, or privileges for any private person or party.



/s/
Assistant Commissioner
Office of Field Operations




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Discretionary Authority Checklist for Alien Applicants

Applicant’s Name:                                                               Port #:

Date of Birth:                                                       Date of Action:

Citizenship:                                                         Passport / A-#:

1) Identity / Citizenship:                                    2) Age, Health and Notoriety of Applicant:

Identity sufficiently determined: Yes      No                 Are age or health relevant factors? Yes     No
Citizenship sufficiently determined:Yes    No                 Is the applicant a public figure?   Yes     No
                                                              Congressional or media interest? Yes        No

**NOTE: Discretionary authority should generally not be exercised if identity or citizenship can not be established.
REMARKS (to include origin, destination and intended length of stay):




3) Intended Purpose of Entry:                                 4) Database queries:

Emergency:                         Yes     No
Medical:                           Yes     No
Pleasure:                          Yes     No
Business/Official:                 Yes     No
Other:                             Yes     No




5) Previous Immigration Violations or Inadmissibility:        6) Nature of Inadmissibility:

Previous Immigration Violation(s): Yes     No
Previous Inadmissibility:           Yes    No
Previous Beneficiary of Discretion: Yes    No

REMARKS:




7) Threat posed to the United States:                     **NOTE: Discretionary authority should generally not be
                                                          exercised if a threat is posed to the United States.
                                                              REMARKS:




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8) Other Factors to Consider:

Legitimate reason for entering the United States:                      Yes    No
Documentary (Passport / Visa) deficiency only:                         Yes    No
Credible claim of official misinformation:                             Yes    No
Relationship to a U.S. employer or resident:                           Yes    No
Intent to circumvent admissibility requirements:                       Yes    No
Misrepresentations made during processing:                             Yes    No
Minor children accompanying or already in the United States:           Yes    No
Unaware of visa voidance or consequences of VWP overstay:              Yes    No
Relief available through the parole or waiver process:                 Yes    No

REMARKS:




Examining CBP Officer:

Applicable Ground(s) of Inadmissibility:

Applicable Discretionary Action(s):
Withdrawal of Application for Admission:             Yes       No
Parole to Depart Foreign / Voluntary Return:         Yes       No      Length of parole sought: __________
Humanitarian Parole:                                 Yes       No      Length of parole sought: __________
Waiver of Passport Requirement:                      Yes       No      Period of admission sought: __________
Waiver of Non-Immigrant Visa Requirement:            Yes       No
                  Classification: __________                           Period of admission sought: __________
Waiver of Immigrant Visa Requirement:                Yes       No
Waiver of processing fee (if applicable):            Yes       No
Deferred Inspection:                                 Yes       No      Deferral Period and Location: __________


Supervisory CBP Officer:

Recommendation:
Approve:     Yes         No
Disapprove:  Yes         No

Justification for recommendation (to include alternatives, if disapproval is recommended):




Reviewing 2nd Line Manager:
(GS13 or Above)

Decision:
Approved:                 Disapproved:

Justification for decision (to include final disposition, if disapproved):




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